                      Exhibit 55
       U.S. ex rel. Heath v. Wisconsin Bell, Inc., No. 2:08-CV-00724
             Wisconsin Bell’s Motion for Summary Judgment




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                       Federal Communications Commission
                             Office of General Counsel
                     445 12th St. SW ■ Washington, DC 20554
                    TEL: (202) 418-1740 ■ FAX: (202) 418-2819

                                    April 3, 2020

VIA ELECTRONIC MAIL

Andrew LeGrand, Esq.
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      Re: Third-Party Subpoena of the Federal Communications Commission in the
      underlying matter of U.S. ex rel. Heath v. Wisconsin Bell, Inc., No. 2:08-cv-
      000876 (E.D. Wis.)

Dear Mr. LeGrand:

       I have received the subpoena dated February 21, 2020, that you served on the
Federal Communications Commission (FCC or Commission) on behalf of your client,
Wisconsin Bell, Inc., in the above-referenced Heath litigation. The subpoena seeks
the testimony of “one or more [FCC] officers, directors, or managing agents,” or
“other persons who consent to testify on [the FCC’s] behalf,” about five broad topics
concerning the FCC’s administration and enforcement of the E-rate program over a
roughly 18-year period. The subpoena further commands that the FCC’s
representative(s) bring with them to their deposition(s) nine categories of
“information or communications” that concern either the E-rate program or “any
federal or state ‘non-discrimination’ or ‘similarly situated’ pricing requirements,”
including but not limited to the nondiscrimination requirement of Section 202 of the
Communications Act of 1934, as amended, 47 U.S.C. § 202.

      The United States is not a party to the Heath litigation. Third-party
discovery from the FCC is thus subject to the agency’s “Touhy” rule. 47 C.F.R.
§ 0.463 (outlining appropriate procedures for production and disclosure of material
within custody and control of FCC); see U.S. ex rel. Touhy v. Ragen, 340 U.S. 462,
468–70 (1951) (upholding regulation prohibiting agency employees from releasing
documents without consent of agency head). As contemplated by that rule, I write to
describe the production I have authorized, in response to your subpoena, of certain
nonprivileged records and information. In addition, this letter provides a brief



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statement of our objections to your subpoena. Because our review of the subpoena
continues, we reserve the right to supplement these objections in the future. We
also specifically reserve and do not waive other objections that may be applicable in
discovery or at trial.

  Documents from the Enforcement Bureau, Office of General Counsel,
Wireline Competition Bureau, Office of the Managing Director, and USAC

       As explained in correspondence dated March 11, 2020, from Kirk S. Burgee,
Chief of Staff of the Wireline Competition Bureau, the FCC has searched records in
the custody of the agency’s Enforcement Bureau, Office of General Counsel,
Wireline Competition Bureau (WCB), and Office of the Managing Director, as well
as records in the custody of the Universal Service Administrative Company (USAC),
for documents responsive to your Freedom of Information Act (FOIA) request
No. 2018-000906.

       In response to that request, as modified in your letters to Nakesha Woodward
of WCB dated January 23 and March 13, 2019, we located more than 5,000 pages of
responsive records.1 In our response of March 11, 2020, we produced more than
1,500 pages of those records. Pursuant to various FOIA exemptions, however, we
redacted certain portions of the records produced; other records we withheld.
Among other reasons, we redacted or withheld documents pursuant to FOIA
Exemptions 4 (protecting privileged or confidential “trade secrets and commercial or
financial information”) and 6 (“personnel and medical files and similar files the
disclosure of which would constitute a clearly unwarranted invasion of personal
privacy”).

        In contrast to our March 11 FOIA response, responses to your February 21
subpoena will be subject to the Stipulated Protective Order entered in the Heath
litigation on April 1, 2016. In view of that protective order, we are now able to make
a further production of 29 documents that WCB collected from the above-listed
bureaus and offices in response to your 2018 FOIA request. This new production
includes copies of five documents that we previously produced in redacted form, as
to which, in view of the protective order, we have now removed some or all of the
prior redactions. Pursuant to the protective order, we have stamped the pages
produced “CONFIDENTIAL.”



1 The scope of your current subpoena is significantly broader than your FOIA

request as narrowed in these letters, in terms of both subject matter and the time
period covered. Further searches in response to your subpoena may uncover
additional documents for production or additional categories of documents and
related privileges based on which the FCC would object to your document requests.


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       Notwithstanding the protective order, we continue to withhold and redact
documents and portions thereof that are subject to the attorney work product
doctrine and the privileges governing confidential attorney-client communications,
communications made in furtherance of settlement negotiations, predecisional
agency deliberations, and law enforcement investigative files. For example, we have
continued to withhold or redact emails and other documents with analysis of claims
and defenses in litigation, as communicated between and among government
attorneys (at the FCC and sometimes including at the Department of Justice). We
have similarly continued to withhold or redact emails that contain internal
investigatory documents and evaluations of these documents among government
attorneys, including emails seeking advice from the Office of General Counsel. The
disclosure of these emails would reveal confidential communications between FCC
attorneys and their clients made for the purpose of requesting or relaying legal
advice, attorney legal analysis or mental impressions committed to writing in
connection with pending or anticipated litigation, predecisional deliberations
between or among FCC staff regarding agency policy or decisions, and/or
investigative techniques and procedures or other information the disclosure of
which would hamper ongoing or future law enforcement efforts.

       Our decision to continue to withhold or redact documents of this kind is
consistent with the Commission’s Touhy regulation, which makes clear that the
General Counsel should not ordinarily authorize the release of records where “[t]he
integrity of the administrative and deliberative processes of the Commission would
be compromised,” or when “[d]isclosure . . . of the records . . . is not appropriate or
required under the relevant substantive law concerning privilege” or “could
interfere with ongoing Commission enforcement proceedings or other legal or
administrative proceedings.” 47 C.F.R. § 0.463(e).

             Documents from the Office of the Inspector General

       As explained in correspondence dated January 23, 2020, from Sharon Diskin,
Assistant Inspector General in the Investigations Division of the FCC’s Office of the
Inspector General (OIG), OIG has searched records in the custody of that division
for documents responsive to your Freedom of Information Act (FOIA) request
No. 2018-000906, as you revised that request on January 23, 2019.

        The OIG production of January 23, 2020, included material responsive to
your requested search terms “Gerth & FOIA OR Freedom of Information Act” and
“ProPublica & (FOIA OR Freedom of Information Act)” as well as information that
OIG received from the Wisconsin Public Service Commission in 2009. More
specifically, the production included 4 files containing 15 pages that were released
in full. The production also included 25 files containing 78 pages that were released
in part, with redactions pursuant to FOIA Exemptions 5 (records that are normally



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considered privileged in the civil discovery context), 6 (“personnel and medical files
and similar files the disclosure of which would constitute a clearly unwarranted
invasion of personal privacy”), and/or 7(C) (law enforcement records that “could
reasonably be expected to constitute an unwarranted invasion of personal privacy”).

       In view of the governing protective order in Heath, we are now producing new
copies of internal emails from which the names, phone numbers, and email
addresses of FCC personnel were previously redacted. Although information of that
nature is no longer redacted, consistent with the protective order we have marked
the pages of today’s production “CONFIDENTIAL.” Today’s production also
includes additional documents that OIG located in response to your 2018 FOIA
request, which on further review I have determined are not subject to any privilege
that now prevents their disclosure.

        Notwithstanding the protective order, we continue to withhold and redact
documents and portions thereof that are privileged. For example, we have withheld
or redacted emails and draft memoranda the disclosure of which would reveal
confidential communications between FCC attorneys and their clients made for the
purpose of requesting or relaying legal advice, attorney legal analysis or mental
impressions committed to writing in connection with pending or anticipated
litigation, predecisional deliberations between or among FCC staff regarding agency
policy or decisions, and/or investigative techniques and procedures or other
information the disclosure of which would hamper ongoing or future law
enforcement efforts. As explained above with respect to the documents collected by
WCB, see supra p. 3, our decision to continue to withhold or redact these OIG
documents is consistent with the Commission’s Touhy regulation. 47 C.F.R.
§ 0.463(e).

        Beyond our review of the earlier OIG production for additional materials now
appropriate for release, staff in the OIG Audits Division searched OIG’s collection of
semi-annual audit reports for the period of 1998 through the present. Based on that
search, in a good-faith effort to offer information responsive to the third and fourth
categories of documents requested in your subpoena, I can now inform you that,
during the specified time period, the OIG Audits Division conducted 27 E-rate
program audits. Those audits were all of program beneficiaries, not E-rate service
providers. As such, our review of the relevant audit reports confirmed that none of
these audits tested for compliance with the E-rate program’s lowest corresponding
price regulation. OIG’s semi-annual reports are publicly available on the internet
here: https://www.fcc.gov/inspector-general/reports/semi-annual. Audit reports are
publicly available here: https://www.fcc.gov/inspector-general/reports/audit. We
have listed the relevant audit report numbers and titles in the attachment to this
letter.




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       We view this information as sufficient for you “to determine the number of
audits of E-Rate service providers or beneficiaries completed by the FCC” during
the specified time period, including “the number of audits during this time period
that included procedures designed to test compliance with the E-Rate program’s
[lowest corresponding price] requirement.” Subpoena, Attachment B, Documents to
Be Produced ¶¶ 3, 4. The publicly available reports also provide sufficient
“descriptions of those audits” and “summaries of [the] audit findings.” Id.

       We object to your request for information sufficient to determine the “audit
procedures utilized during this time period, including any revisions to those
procedures,” and to your requests for “the audits themselves.” Subpoena,
Attachment B, Documents to Be Produced ¶¶ 3, 4. Providing such information
would reveal investigative techniques and procedures or other information the
disclosure of which would hamper ongoing or future law enforcement efforts. The
privilege governing law enforcement investigative files precludes the requested
discovery.

 Summary of Objections as to Undue Burdens and Other Related Matters

       The Federal Rules of Civil Procedure impose an affirmative and ongoing duty
on parties to use the tools provided proportionately, and to avoid overuse that may
increase costs or result in undue burden. See Fed. R. Civ. P. 1 (imposing shared
responsibility by “court and . . . parties” to construe, administer, and employ Rules
to “secure . . . just, speedy, and inexpensive determination of every action and
proceeding”). This duty is explicitly reinforced under the discovery provisions, which
limit the scope of discovery to “non-privileged matters” that are “relevant to any
party’s claim or defense and proportional to the needs of the case,” considering
factors including “whether the burden or expense of the proposed discovery
outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1).

      When discovery is aimed at nonparties via subpoena under Rule 45, the
Rules impose a heightened obligation on the court and parties to avoid imposing
undue burden or expense. See Fed. R. Civ. P. 45(d)(1), (d)(3)(A)(i)–(iii) (mandating
that party issuing subpoena “take reasonable steps to avoid imposing undue burden
or expense,” and requiring courts to quash subpoenas that do not comply); see also
Millennium TGA, Inc. v. Comcast Cable Commc’ns LLC, 286 F.R.D. 8, 11 (D.D.C.
2012) (“The text of Rule 45 makes quite clear that parties and attorneys who issue
subpoenas have an affirmative duty to prevent undue burden or expense to the
persons subject to the subpoena.”). Where, as here, the nonparties subject to a
Rule 45 subpoena include federal government agencies and employees, courts have
recognized the need for even greater caution in avoiding undue burden and expense.




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       The need to avoid undue burden on the government is now particularly great
because of the national emergency surrounding the COVID-19 pandemic. During
this pandemic, the FCC’s senior leaders and staff are grappling with numerous
time-sensitive, mission-critical matters—for example, working to ensure that all
Americans and American businesses are able to maintain the broadband and
telephone connectivity on which the nation now relies more than ever for telework,
telehealth, and remote learning. At the same time, the pandemic has required the
FCC to close its facilities (except to allow limited access when necessary to perform
essential functions that cannot be performed remotely), and the agency’s entire
workforce has transitioned to mandatory telework. These conditions significantly
increase the burden of responding to your subpoena.

       Moreover, you have not shown why the wide-ranging deposition topics and
very broad set of documents identified in your subpoena are “likely [to] benefit” your
client’s position in Heath—let alone confer a benefit that would outweigh the
considerable burden and expense the proposed discovery would impose on the
government. Fed. R. Civ. P. 26(b)(1). In your Touhy request letter, you assert that
the proposed discovery is needed to show that “any statements or omissions by
Wisconsin Bell about the [lowest corresponding price] requirement were immaterial
to the FCC’s or USAC’s decision to provide reimbursements under the E-rate
program.” Touhy Request Letter, p. 5. But your claim that the proposed discovery
might uncover such information is belied by the Commission’s publicly available
rules and orders, including the lowest corresponding price rule itself, 47 C.F.R.
§ 54.511(b), and several admonitions in the Commission’s 2014 order modernizing
the E-rate program, see, e.g., Modernizing the E-rate Program for Schools and
Libraries, 29 FCC Rcd 8870, 8943 ¶ 183 (2014) (“[W]e remind service providers that
they not only must charge eligible schools, libraries, and consortia the [lowest
corresponding price] when providing E-rate services, but also must offer eligible
entities the [lowest corresponding price] when submitting competitive bids to
provide E-rate supported services.”); id. at 8944 ¶ 186 (directing FCC’s Enforcement
Bureau “to investigat[e], and where appropriate, bring[] enforcement actions
against service providers who violate the [lowest corresponding price] rule”).

       Guided by these standards and considerations, we preserve the following
objections and reserve our right to assert any additional objections that may be
warranted as our review of the subpoena continues:

      1. The subpoena imposes unreasonable time periods for compliance.
         Specifically, the subpoena for testimony and documents from the FCC
         commands the production of documents and the appearance of at least one
         witness on March 13, 2020. That date has now passed, and it was
         unreasonable to begin with, as it allowed the FCC a mere three weeks
         from service of the subpoena to comply. Three weeks is less than the



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        period allowed under the Federal Rules for parties to object to document
        requests, much less to produce the requested documents. See Fed. R. Civ.
        P. 34(b)(2). The time allowed is accordingly unreasonable, especially
        considering the undefined time period for documents demanded by the
        subpoena and the various privilege-related issues raised by the requests.
        See Fed. R. Civ. P. 45(c)(3)(A).

     2. The subpoena appears to seek information beyond the scope of permitted
        discovery under Rule 26(b)(1). In particular, the subpoena appears to seek
        privileged information; information that is not relevant to any party’s
        claim or defense; and information that is not proportional to the needs of
        the case, taking into account the relevant factors set forth in the Rules.

     3. The subpoena’s definitions and, by extension, document requests are
        overbroad and fail to describe with “reasonable particularity” each item or
        category of items requested. As a result, much of what is sought is either
        irrelevant under Rule 26(b)(1) or unduly burdensome to search for or
        produce. For example, with expansive definitions of the terms
        “Communication(s)” and “Relating To,” several requests seek the FCC’s
        “communications with” or “relating to” a broad swath of individuals,
        entities, or topics (e.g., “[a]ny communications with any other individual
        or entity related to the E-Rate program’s [lowest corresponding price]
        requirement”)), without tailoring the requests to a relevant subset of
        documents proportional to the needs of the underlying litigation. These
        requests thus unavoidably encompass documents that are irrelevant to
        proper areas of inquiry in the underlying litigation, and hence fail to
        comply with the proportionality requirement mandated by Rule 26 and
        the protections afforded to government agency nonparties under Rule 45,
        as explained above. The definitions and requests are also vague,
        ambiguous, and open to interpretation, including as to the terms
        “communications” and “relating to.”

     4. The document requests themselves are overbroad and unduly
        burdensome. For example, the subpoena seeks “[a]ny communications
        related to or with ProPublica,” without regard to whether those
        communications have any bearing on topics of concern in the Heath
        litigation, or even more generally on the E-rate program. Subpoena,
        Attachment B, Documents to Be Produced ¶ 9. Another example is your
        request for “[a]ny internal information or communications relating to the
        creation, interpretation, regulation, analysis, investigation, enforcement,
        or adjudication of the E-Rate program’s lowest corresponding price
        requirement.” Id. ¶ 2. Not only is much of the information requested likely
        to be privileged, but the request is overly broad and unduly burdensome



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          in that it seeks information from an unspecified time period and not
          limited to specified individuals or units within the FCC.

      5. We object to the subpoena to the extent it seeks information that appears
         available from, or in the possession of, parties to the underlying litigation,
         particularly documents in your own files or those of Relator Todd Heath.
         See, e.g., Nidec Corp. v. Victor Co. of Japan, 249 F.R.D. 575, 577 (N.D. Cal.
         2007) (“There is simply no reason to burden nonparties when the
         documents sought are in possession of the party defendant.”).

      6. We object to the extent that the subpoena seeks legal conclusions. In
         addition, to the extent the subpoena seeks publicly available information
         concerning statutes, regulations, guidelines, or procedures, it would entail
         the same effort for Wisconsin Bell to obtain that information as it would
         the FCC. See, e.g., SEC v. Samuel H. Sloan & Co., 369 F. Supp. 994, 995
         (S.D.N.Y. 1973) (“It is well established that discovery need not be required
         of documents of public record which are equally accessible to all parties.”).

              Summary of Objections as to Privileged Materials

       Privileged matters and documents are presumptively beyond the scope of
discovery under Rule 26(b)(1) and cannot be requested by a party or attorney
issuing and serving a subpoena under Rule 45 absent an exception or waiver. See
Fed. R. Civ. P. 26(b)(1) (confining the scope of discovery to “any nonprivileged
matter” that is relevant “and proportional to the needs of the case”); Fed. R. Civ. P.
45(d)(1), (d)(3)(iii) (mandating that courts protect persons subject to subpoenas by
quashing or modifying a subpoena that “requires disclosure of privileged or other
protected matter”). In addition to all previously asserted objections, we object to the
extent the subpoena seeks information or documents protected under the attorney
work product doctrine and the privileges for attorney-client communications,
confidential statements made in furtherance of settlement negotiations, agency
deliberative process documents, and law enforcement investigatory files.

       To the extent the requests seek nonpublic documents and testimony
concerning investigations and related evaluations conducted by the FCC or USAC,
we object under the law enforcement investigative privilege, deliberative process
privilege, attorney-client privilege, and work product doctrine to producing
investigative and agency files, including those that would reveal investigatory
techniques and evaluative processes of the FCC, its agent USAC, or the Department
of Justice, or that “would hamper future law enforcement efforts by enabling
adversaries of law enforcement to evade detection.” United States v. Owens, No. 18-
CR-157, 2019 WL 6896144, at *5 (E.D. Wisc. Dec. 18, 2019) (quoting United States
v. Rigmaiden, 844 F. Supp. 2d 982, 1002 (D. Ariz. 2012)); see also 28 C.F.R.



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§ 16.26(b)(4), (b)(5) (prohibiting disclosures that would reveal “investigatory records
complied for law enforcement purposes, . . . interfere with enforcement
proceedings[,] or disclose investigative techniques and procedures the effectiveness
of which would thereby be impaired”).

       Likewise, to the extent the requests otherwise seek confidential
communications between the FCC and its attorneys made for the purpose of
requesting or relaying legal advice or services, or documents that reflect such
communications, we object under the law of attorney-client privilege. See, e.g., In
Re: A Witness Before the Special Grand Jury 2000-2, 288 F.3d 289, 291 (7th Cir.
2002) (“[I]n the civil and regulatory context, the government is entitled to the same
attorney-client privilege as any other client.”). And we object under the work
product doctrine to the production of emails, memoranda, and other documents
prepared by or at the direction of any FCC or Department of Justice attorney in
contemplation of litigation, including “documents prepared in anticipation of
administrative litigation.” In re Apollo Grp., Inc. Secs. Litig., 251 F.R.D. 12, 19
(D.D.C. 2008); see also id. at 20 (agency program review arising out of qui tam
allegations was “in anticipation of litigation,” not routine monitoring).

       In addition, we object to the production of documents the disclosure of which
would reveal the FCC’s confidential settlement communications. “There exists a
strong public interest in favor of secrecy of matters discussed by parties during
settlement negotiations.” Goodyear Tire & Rubber Co. v. Chiles Power Supply, Inc.,
332 F.3d 976, 980 (6th Cir. 2003). And courts have questioned the probative value of
statements made during settlement negotiations, which are often “motivated by a
desire for peace rather than from a concession of the merits of the claim.” Id. at 981
(internal quotation marks omitted). We thus object to the disclosure of such
statements based on the privilege for confidential settlement negotiations. With
respect to draft settlement communications, we also object to discovery on grounds
of the attorney work product doctrine and law enforcement investigative privilege.

       Your requests seek numerous documents that reflect advisory opinions,
recommendations, and deliberations comprising part of a process by which the FCC
formulated certain decisions and policies. Such documents are subject to the
deliberative process privilege, and we accordingly object to production on that basis
as well. See, e.g., NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 150–51 (1975)
(disclosure of such documents might inhibit “frank discussion of legal or policy
matters in writing,” to detriment of resulting decisions and policies).

      You have suggested in prior discussions and correspondence that, in the
context of the Heath litigation, the government may not assert the deliberative
process privilege. We disagree.




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       To be sure, the deliberative process privilege is not absolute; it “may be
overcome where there is a sufficient showing of a particularized need to outweigh
the reasons for confidentiality.” United States v. Farley, 11 F.3d 1385, 1389 (1993);
accord United States v. Menominee, No. 07-C-316, 2009 WL 637188, at *1 (E.D.
Wisc. Mar. 10, 2009). But assertions that government documents “are relevant” or
“important” to a party’s defenses in litigation are not enough. Farley, 11 F.3d at
1390; see id. (mere relevance is “insufficient reason for breaching . . . deliberative
process privilege”). Rather, in considering whether a requesting party’s interest in
disclosure outweighs the government’s privilege, a court must balance the
requester’s need for specific documents against the “nature” of those documents and
“the effect of [their] disclosure on the government.” Id.; see also United States v.
Zingsheim, 384 F.3d 867, 872 (7th Cir. 2004) (whether exception to government’s
privilege applies “must be addressed and resolved one lawsuit—indeed, one
document—at a time”).

       The cases you have identified do not support your contention that the
government has no deliberative process privilege in a qui tam False Claims Act
case. Many of the cases on which you rely do not involve the deliberative process
privilege at all. For example, the Supreme Court’s decision in Universal Health
Services, Inc. v. United States ex rel. Escobar, — U.S. —, 136 S. Ct. 1989 (2016),
merely recognizes that regulatory requirements may not be “material” within the
meaning of the False Claims Act if evidence shows that the government paid “a
particular claim in full despite . . . actual knowledge that [the] requirements were
violated,” or that the government “regularly pays a particular type of claim in full
despite actual knowledge that [the] requirements were violated.” Id. at 2003–04;
accord U.S. ex rel. Berg. v. Honeywell Int’l, Inc., 740 Fed. App’x 535, 538 (9th Cir.
2018); U.S. ex rel. Petratos v. Genentech Inc., 855 F.3d 481, 489–93 (3d Cir. 2017);
U.S. ex rel. Kelly v. Serco, Inc., 846 F.3d 325, 333–34 (9th Cir. 2017); see also Coyne
v. Amgen, Inc., 717 Fed. App’x 26, 29 (2d Cir. 2017) (plaintiff failed to plausibly
allege material misrepresentation under Escobar standard).

       The cases you have cited that do address the deliberative process privilege
likewise do not hold that the government is categorically barred from asserting the
privilege in cases like Heath. In United States ex rel. Hartpence v. Kinetic Concepts
Inc., No. CV 08-1885, 2018 WL 7568578, at *4–5 (C.D. Cal. July 30, 2018), a federal
magistrate judge concluded that, as to specific documents in that case, the
defendant had shown that its particularized need for disclosure outweighed the
government’s deliberative process privilege. Although stating that the government’s
financial interest in the relator’s suit “weigh[ed] heavily in favor of disclosure,” id.
at *3, the court did not assert that the government’s financial interest in qui tam
actions will necessarily justify the disclosure of deliberative documents in every
case. Indeed, although requiring the disclosure of some deliberative documents, the
Hartpence court refused to order the disclosure of others.



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      Similarly, although the court in United States ex rel. Polansky, No. 12-cv-
4239, Dkt. 510 (Aug. 8, 2019), denying objections in relevant part, Dkt. 520 (E.D. Pa.
Aug. 21, 2019), directed production of certain documents as to which the
government had asserted the deliberative process privilege, that decision was based
primarily on the age of the documents and perceived shortcomings in the
government’s privilege log—not on any blanket determination that the deliberative
process privilege is unavailable to the government in qui tam cases analogous to
Heath. And as the D.C. Circuit has held, a time limit on asserting the deliberative
process privilege would undermine the very goal of the privilege. See Nat’l Sec.
Archive v. CIA, 752 F.3d 460, 464–65 (D.C. Cir. 2014) (Kavanaugh, J.).

                               Procedural Matters

       Finally, we note that this case has been pending for more than a decade.
Wisconsin Bell received its summons in July 2011, and the parties have engaged in
active discovery since at least March 2016. The initial deadline for discovery was
March 3, 2017. Although Wisconsin Bell filed a motion for judgment on the
pleadings, the court denied that motion over 18 months ago. The most recent
discovery deadline—March 13, 2020—was established pursuant to the parties’
seventh agreed extension. Yet you waited until just three weeks before that
deadline, on February 24, 2020, to serve your subpoena on the FCC. Beyond the
numerous legal objections we have raised and the particular difficulties presented
by the COVID-19 pandemic, the timing and scope of your subpoena constitute
additional, independent reasons why your request is unduly burdensome, such that
the FCC should not be compelled to respond.

                                   *      *      *

       For the foregoing reasons, we object to your third-party subpoena for
deposition testimony and documents except to the extent I have authorized the
release of records, enclosed with this letter, pursuant to the FCC’s Touhy
regulation. In particular, we decline to provide a witness pursuant to the subpoena
at this time. Nevertheless, you have indicated a willingness to “work with the FCC
to determine which FCC custodians are most likely to have relevant information,”
and to “initially limit [your] document requests to encompass materials that include
one or more of [specified] search terms.” Subpoena, Attachment B, Instructions
¶¶ 7, 8. We welcome the opportunity to meet and confer concerning your requested
discovery, and to attempt to resolve or narrow our areas of disagreement informally.
If you have questions or concerns, please contact Susan Launer of my office. She can
be reached at Susan.Launer@fcc.gov.




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                                      Respectfully submitted,

                                      /s/ Thomas M. Johnson, Jr.

                                      Thomas M. Johnson, Jr.
                                      General Counsel
                                      Federal Communications Commission
                                      445 12th Street SW
                                      Washington, DC 20554
                                      (202) 418-1740

Enclosures

cc: Susan Launer (via email)
    Jennifer Chorpening (via email)




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  List of Office of the Inspector General E-rate Audits from 1998 through
                                   Present

          Audit Number                             Beneficiary
02-AUD-02-04-010                      Enoch Pratt Free Library

03-AUD-02-04-13                       Robeson County Public School

02-AUD-04-13                          Wake County Public School

02-AUD-04-16                          Albermarle Regional Library System

R-GR-FCC-0006-2003                    Santa Fe Indian School, Inc.

02-AUD-02-04-07                       St. Matthew Lutheran School

02-AUD-02-04-11                       Prince William County Schools

02-AUD-02-04-12                       Arlington Public Schools

R-GR-FCC-0005-2003                    Navajo Preparatory School, Inc.

02-AUD-02-04-20                       Immaculate Conception School

02-AUD-02-04-025                      Children’s Storefront School

02-AUD-02-04-017                      St. Augustine School

02-AUD-02-04-003                      Southern Westchester Board of
                                      Cooperative Educational Services

02-AUD-02-04-006                      United Talmudical Academy

02-AUD-02-021                         Annunciation Elementary School

R-GR-FCC-0007-2003                    St. Mary's Catholic School

R-GR-FCC-0008-2003                    St. Joseph High School

R-GR-FCC-0009-2003                    St. Patrick Catholic School




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          Audit Number                             Beneficiary
10-AUD-05-03                          Pittsburg Unified School District

10-AUD-11-01                          Hampstead Hill Elementary School

12-INSP-09-04                         Perry Street Public Charter School

13-AUD-12-28                          Show Low Unified School District

13-AUD-12-27                          Parker Unified School District

15-AUD-04-03                          Amarillo Independent School District

15-AUD-07-07                          Orange County Library System

17-AUD-05-02                          West Baton Rouge Parish Central
                                      Office

18-AUD-08-06                          East Central Independent School
                                      District




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